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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    PENDLETON DIVISION

MICHAEL HERNANDEZ,
                                                      Case No. 2:16-CV-01495-SU
                              Plaintiff,
                                                      DEFENDANTS TOM MELDER, ROB
       v.                                             JASPER, AND CHRISTY TAYMAN’S
                                                      MOTION TO DISMISS AND
                                                      SUPPORTING MEMORANDUM
FEDEX FREIGHT, INC., TOM MELDER,
ROB JASPER, and CHRISTY TAYMAN,                       Oral Argument Requested
                              Defendants.


                           Local Rule 7-1 Certificate of Compliance

       Defendants Tom Melder, Rob Jasper and Christy Tayman (hereinafter the “Individual

Defendants”) move to dismiss Plaintiff Michael Hernandez’s (“Plaintiff”) Ninth Claim for Relief

(ORS 659A.030 - Aiding and Abetting Discrimination/Retaliation) with prejudice. Counsel for

the Individual Defendants conferred in good faith with Ms. Christina Stephenson, counsel for

Plaintiff, via phone call on October 21, 2016, but the parties were unable to resolve the dispute.

                                            MOTION

       The individual defendants respectfully move to dismiss Plaintiff’s Ninth Claim for Relief

(ORS 659A.030 - Aiding and Abetting Discrimination/Retaliation) with prejudice for failure to
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state a claim upon which relief can be granted, pursuant to Federal Rule of Civil Procedure

12(b)(6).

                            MEMORANDUM IN SUPPORT OF MOTION

                                     I.      INTRODUCTION

       Plaintiff asserts a single claim for relief against the Individual Defendants in this matter,

aiding and abetting discrimination and retaliation, but has not pled sufficient facts in support of

that claim. First, the allegations asserted against the Individual Defendants do not satisfy the

pleading standards established by the United States Supreme Court. Simply asserting that each

Defendant “violated ORS 659A.030(1)(g) by aiding, abetting, inciting, compelling and/or

coercing discrimination and retaliation of Plaintiff, as set forth above” is precisely the type of

threadbare and conclusory allegation that the Supreme Court has previously rejected. Moreover,

the additional allegations in the complaint regarding the Individual Defendants provide no

support for the claim that they aided or abetted any illegal conduct. Second, even if the

allegations in the complaint had been made with sufficient particularity, the claim against Mr.

Melder should also be dismissed because the allegations identify Mr. Melder as a primary actor

in the termination decision, and a primary actor cannot be found liable for aiding and abetting

under Oregon law. Last, the allegations against Ms. Tayman are insufficient as a matter of law

because simply providing an employee with information about his employment status does not

state a claim for aiding and abetting discrimination and retaliation under ORS 659A.030(1)(g).

Accordingly, the Ninth Claim for Relief should be dismissed with prejudice under Federal Rule

of Civil Procedure 12(b)(6).

                               II.        STATEMENT OF FACTS 1

       Plaintiff is a resident of Washington and a former employee of FedEx Freight, Inc.

(“FedEx”). Compl. ¶¶ 1, 5, 8. FedEx is an Arkansas Corporation that has a location for

1
  The Individual Defendants rely on Plaintiff’s allegations as set forth in its Complaint for
purposes of this motion only. By doing so, the Individual Defendants do not admit to the
truthfulness of any of those allegations, and they expressly reserve the right to contest and/or
deny Plaintiff’s allegations in the future.
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transaction of business in Hermiston, Oregon. Id. ¶ 6, 12. Plaintiff began working for FedEx on

October 28, 2013 as a freight truck driver. Id. ¶ 11. Plaintiff was terminated by FedEx on May

29, 2015. Id. ¶ 30. Plaintiff alleges that he was terminated for absences relating to his medical

condition and his refusal to work. Id. ¶¶ 16, 30. Plaintiff appealed his termination and FedEx’s

corporate HR upheld the termination decision on June 29, 2015. Id. ¶ 32. Plaintiff filed this

lawsuit on July 25, 2016, seeking recovery for alleged discrimination and retaliation, and asserts

eight claims for relief against Defendant FedEx. Id. ¶¶ 33-78. Plaintiff also asserts a single

claim for “Aiding and Abetting Discrimination/Retaliation” against Individual Defendants

Melder, Japser, and Tayman. Id. ¶¶ 79-81. Plaintiff does not assert any other causes of action

against the Individual Defendants.

                                   III.    LEGAL STANDARDS

        Federal Rule of Civil Procedure 12(b)(6) governs motions to dismiss for failure to state a

claim upon which relief can be granted. The Supreme Court expounded upon that rule in Iqbal

and Twombly, in which it made clear that federal pleading standards require a complaint to

contain more than “an unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555

(2007)). The Twombly standard applies to all claims brought in federal court. Iqbal, 556 U.S. at

684; see also Moss v. U.S. Secret Service, 572 F.3d 962, 970-72 (9th Cir. 2009). To survive a

motion to dismiss under Rule 12(b)(6), a complaint must “contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at 678

(quoting Twombly, 550 U.S. at 570). While a court must accept plaintiff’s factual, non-

conclusory allegations for the purposes of a motion under Rule 12(b)(6), “[t]hreadbare recitals of

the elements of a cause of action, supported by mere conclusory statements, do not suffice.” Id.

(citing Twombly, 550 U.S. at 555).

        Dismissal is proper when there is either a “lack of a cognizable legal theory or the

absence of sufficient facts alleged under a cognizable legal theory.” Balistreri v. Pacifica Police

Dep’t, 901 F.2d 696, 699 (9th Cir. 1988). “[C]onclusory allegations of
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law and unwarranted inferences are insufficient to defeat a motion to dismiss for failure to state a

claim.” Caviness v. Horizon Cmty. Learning Ctr., 590 F.3d 806, 812 (9th Cir. 2010) (internal

quotations omitted). A complaint “that offers ‘labels and conclusions’ or ‘a formulaic recitation

of the elements of a cause of action will not do.’ . . . Nor does a complaint suffice if it tenders

‘naked assertions’ devoid of ‘further factual enhancement.’” Iqbal, 556 U.S. at 678 (quoting

Twombly, 550 U.S., at 555-57). The touchstone of Iqbal and Twombly is plausibility -- the

plaintiff is charged with stating a plausible, not merely possible, cause of action that is based on

factual allegations and the reasonable inferences that may be drawn from them. Twombly, 550

U.S. at 570. It is the plaintiff’s burden to allege enough substance so as to “nudge[] her claims

across the line from conceivable to plausible.” Id.

       When a plaintiff’s complaint fails to plead facts supporting entitlement to relief, it is

appropriate to grant a dismissal under FRCP 12(b)(6) at the earliest practicable stage, because

the complaint’s “basic deficiency should . . . be exposed at the point of minimum expenditure of

time and money by the parties and the court.” Id. at 558 (internal quotations omitted). In this

case, Plaintiff’s conclusory allegations against the Individual Defendants in the Ninth Claim for

Relief are exactly the type of “unadorned,” “naked assertion[s]” that the Supreme Court has

declared insufficient, and there is no plausible claim for aiding and abetting under ORS

659A.030 as alleged. Accordingly, the claim must be dismissed with prejudice.

                                       IV.     ARGUMENT
       A. Plaintiff’s Aiding and Abetting Claim Contains Conclusory Allegations that
          Must be Dismissed For Failure to State a Claim Upon Which Relief Can be
          Granted

       Plaintiff’s Ninth Claim for Relief for ORS659.030 for “Aiding and Abetting

Discrimination/Retaliation” must be dismissed because it contains conclusory allegations that do

not state a claim against any of the Individual Defendants. Indeed, the allegations against the

Defendants simply state: “Defendant Medler [sic] violated ORS 659.030(1)(g) by aiding,

abetting, inciting, compelling and/or coercing discrimination and retaliation of Plaintiff, as set


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forth above. Defendant Jasper violated ORS 659.030(1)(g) by aiding, abetting, inciting,

compelling and/or coercing discrimination and retaliation of Plaintiff, as set forth above.

Defendant Tayman violated ORS 659.030(1)(g) by aiding, abetting, inciting, compelling and/or

coercing discrimination and retaliation of Plaintiff, as set forth above.” Compl. ¶ 80. Nowhere

in the Complaint does Plaintiff describe any purportedly discriminatory or retaliatory conduct.

        These threadbare allegations are precisely what the United States Supreme Court has

indicated are insufficient to state a claim. Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at

555) (“[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.”). In this case, Plaintiff Ninth Claim for Relief is entirety devoid of

any factual allegations that might establish its claim against any of the defendants. It does not

indicate what actions the Individual Defendants allegedly took to aid and abet discrimination or

retaliation.

        For example, the only allegations that relate at all to Mr. Melder in the Complaint state

that Plaintiff disclosed a disability to him, that Plaintiff and Mr. Melder discussed the call block

option, that Mr. Melder “wasn’t in when Plaintiff was discharged from the ER,” that Mr. Melder

acknowledged Plaintiff’s FMLA application, and that Plaintiff was terminated by Mr. Melder for

refusal to work. Compl. ¶¶ 14, 17, 19, 20, 30. None of these allegations identify any conduct

that aids or abets discrimination or retaliation.

        As to Mr. Jasper, Plaintiff alleges only that Plaintiff and Mr. Jasper discussed the “call

block” option, that Mr. Jasper called him asking him to work during the designated call block

time for a trip, that Mr. Jasper offered an alternate task to Plaintiff in lieu of the trip he was

originally asked to do, that Plaintiff would have to make a statement regarding his absence from

work, and that Mr. Jasper would need a doctor’s note to be released to work. Id. ¶ 14, 26-29.

Nowhere in the Complaint does Plaintiff explain how the Mr. Jasper aided or abetted any type of

retaliation or discrimination. Indeed, nowhere in the Complaint is there any allegation that

individual defendant Jasper was even aware of any alleged disability.


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        Last, as to Ms. Tayman, Plaintiff alleges only that she concluded Plaintiff returned to

work a certain day, that she would remove a point for Plaintiff’s absence, and that Plaintiff

would only receive one point for his absences. Id. ¶ 15. These allegations do not indicate that

Ms. Tayman aided or abetted any illegal activity.

        Accordingly, these are precisely the types of claims that must be dismissed for failure to

state a claim under Iqbal and Twombly because they do not provide anything beyond naked

assertions devoid of the factual enhancement necessary to state a claim. Iqbal, 556 U.S. at 678

(A complaint “that offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements of a

cause of action will not do.’ . . . Nor does a complaint suffice if it tenders ‘naked assertions’

devoid of ‘further factual enhancement.’”) (quoting Twombly, 550 U.S., at 555-57). A single

sentence alleging that the Individual Defendants aided and abetted discrimination and retaliation

combined with various references throughout the Complaint to the Individual Defendants not

tied to any of the elements of the claim for relief is not sufficiently pled. Therefore, the Ninth

Claim for Relief must be dismissed with prejudice.
        B. The Ninth Claim for Relief Must be Dismissed for Failure to State a Claim
           Against Individual Defendant Melder Because A Primary Actor Cannot be
           Liable for Aiding and Abetting
        Plaintiff’s claim against Defendant Melder also must be also dismissed because

Plaintiff’s allegations, if take as true on their face, assert that Mr. Melder was the primary actor

who made the decision to terminate Plaintiff. Multiple Oregon cases have held that the primary

actor in a termination cannot be found liable for aiding and abetting. See, e.g. Hannan v.

Business Journal Publ'ns, Inc., No. 3:14-cv-00831, 2015 WL 7720496, at *2 (D. Or. Nov. 30,

2015) (“ORS § 659A.030(1)(g) is inapplicable to primary actors because a person cannot aid and

abet herself.”) (internal citations omitted).

        In this case, Plaintiff’s Complaint alleges that Mr. Melder was the primary actor in the

termination. Plaintiff alleges that Mr. Melder was his supervisor and the facility manager. See

Compl. ¶ 14 (referring to “his supervisor Tom Melder.”); id. ¶ 17 (“the facility manager, Mr.

Melder.”). Plaintiff also alleges that he “was terminated by Mr.
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Melder.” Id. ¶ 30. In Hannan v. Business Journal Publications, Inc., an Oregon United States

Magistrate Judge noted that an individual defendant was “the person responsible for the decision

to terminate [Plaintiff]” and was therefore the “primary actor.” No. 3:14–cv–00831–SB, 2015

WL 9265959, at *17-18 (D. Or. Oct. 2, 2015), report and recommendation adopted, 2015 WL

7720496 (D. Or. Nov. 30, 2015). Accordingly, under Oregon law, Plaintiff alleges that Mr.

Melder was the primary actor in his termination.

       Taking Plaintiff’s allegations as true, as a primary actor, Individual Defendant Melder

cannot be found liable for aiding and abetting under ORS Section 695A.030(1)(g) because “a

person cannot aid and abet herself.” See Hannan, 2015 WL 7720496, at *2. In Hannan, the

United States District Court adopted the Magistrate Judge’s report and recommendation,

dismissing an individual employee Defendant, holding that “[b]ecause [Defendant] served as the

primary actor in the decision to terminate [Plaintiff] she has not established that [Defendant] has

as any liability for aiding and abetting discrimination under ORS § 659A.030(1)(g).” Id. Here

too, because Plaintiff has alleged that Mr. Melder was the primary actor in the decision to

terminate Plaintiff, he cannot establish liability for aiding and abetting discrimination or

retaliation under ORS § 659A.030(1)(g), and this claim must be dismissed with prejudice.
       C. The Ninth Claim for Relief Must be Dismissed for Failure to State a Claim
          Against Individual Defendant Tayman Because the Allegations Do Not
          Constitute Aiding and Abetting As a Matter of Law

       Plaintiff’s claim against Defendant Tayman is particularly deficient because a claim that

Ms. Tayman aided and abetted any illegal conduct cannot be maintained as a matter of law. The

only factual allegations in the Complaint regarding Ms. Tayman are contained in Paragraph 15 of

the Complaint. None of these allegations contain any involvement in discriminatory of

retaliatory conduct. The entirety of the allegations state:
       Plaintiff explained the situation to Christy Tayman in FedEx’s Human Resources
       the Department. Ms. Tayman concluded from Plaintiff’s log book that he had
       returned to work on the 29th, and she told Plaintiff that she would remove the
       “point” issued against him for an absence on August 29th. Ms. Tayman also
       concluded that even if the absence on the 27th were covered as an absence due a

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       serious health condition, the 27th and 28th absences would only equate one
       “point” against Plaintiff.

Compl. ¶ 15. The United States District Court for the District of Oregon has previously found

similar facts cannot “by any stretch of the imagination rise to the level of aiding and abetting

discrimination” in Demont v. Starbucks Corporation, No. 10-cv-644-ST, 2010 WL 5173304, at

*5 (D. Or. Dec. 15, 2010) (report and recommendation rejected in part on other grounds). In that

case, Plaintiff alleged that a Starbucks human resources manager received a letter from a doctor

requesting accommodation for Plaintiff’s alleged disability. Id. at *3. Plaintiff also alleged that

after Plaintiff had received a corrective action for not performing his duties, the human resources

manager called Plaintiff indicated that his “unemployment status remained open” and informed

him that “his hours had been cut due to the economic slowdown.” Id. The United States

Magistrate Judge found that Plaintiff failed to allege sufficient facts to establish aiding and

abetting liability because the human resources manager only “provided [Plaintiff] with

information when he requested it. This does not, by any stretch of the imagination, rise to the

level of aiding and abetting lawful discrimination.” Id. at *5. Plaintiffs allegations here are no

different -- they simply state that Ms. Tayman provided Plaintiff with information that he

requested. Accordingly, the Ninth Claim for Relief against Ms. Tayman must be dismissed for

failure to state a claim upon which relief can be granted because Plaintiff cannot establish that

Ms. Tayman aided or abetted discriminatory or retaliatory conduct.

        CONCLUSION

       Plaintiff has failed to state a claim for relief against any of the Individual Defendants

under the pleading standards of Iqbal and Twombly, requiring dismissal of the Ninth Claims for

Relief under FRCP 12(b)(6). Additionally, the claim against Individual Defendant Melder fails

as a matter of law, because an alleged primary actor cannot be liable for aiding and abetting

liability. Last, the allegations against Defendant Tayman fail as a matter of law to state a claim.




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Accordingly, the Individual Defendants respectfully request that the Court issue an order

granting its motion to dismiss Plaintiff’s Ninth Claim for Relief with prejudice.



       Dated this 24th day of October, 2016.

                                             K&L GATES LLP

                                             By: s/Román D. Hernández
                                                 Román D. Hernández, OSB #011730
                                                 Attorney for Defendants FedEx Freight, Inc.,
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                              CERTIFICATE OF COMPLIANCE
       This brief complies with the applicable word-count limitation under LR 7-2(b), 26-3(b),

54-1(c), or 54-3(e) because it contains 2,634 words, including headings, footnotes, and

quotations, but excluding the caption, table of contents, table of cases and authorities, signature

block, exhibits, and any certificates of counsel.



Dated this 24th day of October, 2016.



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                                CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a true and correct copy of the foregoing

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